
414 N.W.2d 283 (1987)
226 Neb. 727
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
Kenneth Richard PAYNE, Respondent.
No. 87-577.
Supreme Court of Nebraska.
October 23, 1987.
HASTINGS, C.J., and BOSLAUGH, CAPORALE, SHANAHAN, and GRANT, JJ., and COLWELL, District Judge, Retired.
PER CURIAM.
On June 24, 1987, Counsel for Discipline of the Nebraska State Bar Association filed a motion for reciprocal discipline in this court, pursuant to Neb.Ct.R. of Discipline 21(A) (rev. 1986), and moved for this court to enter an order disbarring the respondent, Kenneth Richard Payne, from the practice of law in the State of Nebraska. Rule 21(A) states: "Upon receipt by the Court of appropriate notice that a member has been disbarred or suspended in another jurisdiction, the Court shall enter an order imposing the identical discipline...."
The record indicates that on July 10, 1986, the respondent was disbarred by order of the Indiana Supreme Court. See Matter of Payne, 494 N.E.2d 1283 (Ind. 1986). The Indiana court held that possession and use of cocaine; purchasing and possessing marijuana, unspecified narcotics, and cocaine; failure to appear for a client at a hearing; and accepting cocaine as payment for legal services warrants disbarment. Id. Respondent has also been disbarred in Colorado. See People v. Payne, 738 P.2d 374 (Colo.1987) (Colorado *284 court held that reciprocal discipline should be imposed on attorney who has already been disbarred in another state).
On September 15, 1987, respondent was ordered to show cause on or before October 1, 1987, why the motion for reciprocal discipline should not be sustained. On October 2, 1987, Counsel for Discipline filed a motion for judgment on the pleadings after respondent failed to respond to this order.
After a careful review of the record, we find that there exists no issue of fact or law. Therefore, pursuant to Rule 21(A), it is the order of this court that the respondent, Kenneth Richard Payne, be, and hereby is, disbarred from the practice of law, effective immediately.
JUDGMENT OF DISBARMENT.
